      Case 6:23-cv-00013 Document 20 Filed on 03/27/23 in TXSD Page 1 of 1



UNITED STATES DISTRICT COURT                                            SOUTHERN DISTRICT OF TEXAS


                   Motion and Order for Admission Pro Hac Vice

      Division          Victoria                               Case Number                6:23-cv-00013

                                            State of Texas, et al.


                                                     versus
                    Bureau of Alcohol, Tobacco, Firearms, and Explosives, et al.


                                          Faith E. Lowry
           Lawyer’s Name                  U.S. Department of Justice
                Firm                      Civil Division, Federal Programs Branch
                Street                    1100 L Street NW
                                          Washington, DC 20005
          City & Zip Code                 Phone: (202) 598-9280
         Telephone & Email                Email: faith.e.lowry@usdoj.gov
      Licensed: State & Number            TX Bar No. 24099560
       Federal Bar & Number               Admitted WDTX




 Name of party applicant seeks to                                         Defendants
 appear for:


                                                                                  ✔
 Has applicant been sanctioned by any bar association or court? Yes _______ No ________

 On a separate sheet for each sanction, please supply the full particulars.


 Dated:       3/27/2023         Signed:                              /s/ Faith E. Lowry



 The state bar reports that the applicant’s status is:


 Dated:                         Clerk’s signature



               Order
                                                     This lawyer is admitted pro hac vice.

Dated:
                                                              United States District Judge
